   Case 1:10-cv-04132-RJS-KNF Document 228 Filed 06/30/14 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                          x
Hicham Azkour,

                  Plaintffi                                   Index No. 10-CV-4132 (RJSXKNF)

                  -v-                                         DEFENDANT'S PROPOSED
                                                              VOIR DIRE QUESTIONS
Little Rest Twelve, Inc., Nina Zajic,
David Kay, and Abderrahmane alUa
Peter Eljastimi

                  Defendønts,




        Defendant Little Rest Twelve, Inc., by and through its attorneys Hoffmann &

Associates, respectfully submits the following proposed voir dire questions to be asked              of

prospective jurors by the Court in accordance with this Court's Order. Further, defendant

respectfully requests an opportunity for counsel              to be able to individually     question

prospective jurors after the prospective jurors have completed their questionnaires and

the Court has concluded its inquiries.

        1.        Are you employed?     If   so, please describe your job, your duties and how

long you have been at your cunent job?

        2.        Have you      or   any members       of your family or close friends been
unemployed during the last frve (5) years?        If   so, describe their search for a new   job and

whether they were able to find one?

        3.        Does anyone in your family or a close friend suffer from mental illness?

If so, please   describe their symptoms and whether and how it impacts their ability to f,rnd

and maintain employment?

        4.        Does anyone in your family or a close friend work in a restaurant?           If   so,

please describe their duties and explain how they obtained their cunent position?
  Case 1:10-cv-04132-RJS-KNF Document 228 Filed 06/30/14 Page 2 of 3



        5.       Have you or any members of your family or close friends ever sued or

made a claim against an employer for unfair treatment, including but not limited to

claims concerning overtime pay or retaliation? If so, please describe who made the claim

and the reasons for the     claim. Did litigation result? How was it resolved? Was it

resolved satisfactorily?    If   someone other than you filed the claim, do you have an

opinion as to whether he or she should have filed the claim? Why or why not?
                 'When
        6.               considering the times in which we live, in addition to your own

personal experiences, is there anything that you can identiff that would cause you to start

off on the side of the employee in an employment dispute, even just a little bit, before

hearing any evidence in this case whatsoever?      If   so, please explain.

        7.       Do you understand and can you assure both parties that you will wait until

you have heard all of the testimony from all of the witnesses and carefully listened to the

Judge's instructions on the law before you form any conclusions?

        8.       Should you find yourself     in a situation      where your personal opinion

conflicts with the law and you believe that the law is not right, would any of you be

unable in that situation to still follow the law and apply it to the facts of this case?

        9.       Do you know what the Fair Labor Standards Act is?            If   so, how do you

know about it?

        10.      Do you believe that you will have a hard time setting aside any sympathy

you may feel for one party or the other in your determination of the issues?

        1   1.   How do you feel about people who lie?

        12.      Are you frustrated or upset about being here today?
  Case 1:10-cv-04132-RJS-KNF Document 228 Filed 06/30/14 Page 3 of 3



Dated: New York, New York
       June 30,2014




                                        Respectfully submitted,

                                        HOF'F'MANN & ASSOCIATES

                                   By: s/ANDRE\il S. HOFFMANN
                                        Andrew S. Hoffmann, Esq.
                                   Attorneys for Defendønt Líttle Rest Twelve, Inc.
                                   450 Seventh Avenue, Suite 1400
                                   New York, New York 10123
                                   Ter (212) 679-0400
                                   Fax Ql2) 679-1080
